Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 1 of 28 Page ID
                                 #:1891




                   EXHIBIT 1
         Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 2 of 28 Page ID
                                          #:1892



From:                             Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>
Sent:                             Monday, March 22, 2021 2:10 PM
To:                               Jake Nachmani; Crisp, Kevin; Kessel, Alan J.; Grochow, Lauren; Willow-Johnson,
                                  Mackenzie Lee
Cc:                               Amiad Kushner; Andrew Sklar; Kevin Hughes
Subject:                          RE: Liu v. Faraday&Future, Inc., et al.,: 2-20-cv-08035-SVW-JPR (C.D. Cal.): Local Rule 7-3
                                  Notice
Attachments:                      J. Goldman Correspondence re Threatened Motion to Dismiss.pdf


Jake,

Please review the attached correspondence.

- Jeff

Jeffrey M. Goldman
Partner
troutman pepper
Direct: 949.567.3547 | Internal: 814-3547
jeffrey.goldman@troutman.com

From: Jake Nachmani <jnachmani@seidenlawgroup.com>
Sent: Monday, March 22, 2021 11:39 AM
To: Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>; Crisp, Kevin <Kevin.Crisp@Troutman.com>; Kessel, Alan J.
<Alan.Kessel@Troutman.com>; Grochow, Lauren <Lauren.Grochow@Troutman.com>; Willow-Johnson, Mackenzie Lee
<Mackenzie.Willow-Johnson@Troutman.com>
Cc: Amiad Kushner <akushner@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
<kevin@foundationlaw.com>
Subject: RE: Liu v. Faraday&Future, Inc., et al.,: 2-20-cv-08035-SVW-JPR (C.D. Cal.): Local Rule 7-3 Notice

EXTERNAL SENDER

Counsel –

Pursuant to the below email, we reiterate our request to discuss with you Plaintiff’s to-be-filed motions to dismiss FF’s
Second Amended Counterclaim, to strike FF and Smart King’s affirmative defenses, and for sanctions.

We are available to speak with you later today and tomorrow. Please let us know your availability.

Regards,

-Jake

From: Jake Nachmani
Sent: Friday, March 19, 2021 9:30 PM
To: Goldman, Jeffrey M. <Jeffrey.Goldman@troutman.com>; Crisp, Kevin <Kevin.Crisp@troutman.com>; Kessel, Alan J.
<Alan.Kessel@troutman.com>; Grochow, Lauren <Lauren.Grochow@troutman.com>; Willow-Johnson, Mackenzie Lee
<Mackenzie.Willow-Johnson@troutman.com>
Cc: Amiad Kushner <akushner@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
                                                             1


                                                                                            Exhibit 1, Page 4
        Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 3 of 28 Page ID
                                         #:1893
<kevin@foundationlaw.com>
Subject: Liu v. Faraday&Future, Inc., et al.,: 2-20-cv-08035-SVW-JPR (C.D. Cal.): Local Rule 7-3 Notice

Counsel:

Pursuant to Local Rule 7-3 and in connection with the above-captioned matter, we are writing to inform you that
Plaintiff intends to file a motion to dismiss FF’s Second Amended Counterclaim (ECF 95) (“SACC”) under Rule 12(b)(6) of
the Federal Rules of Civil Procedure, a motion to strike the affirmative defenses pled in FF and Smart King’s Second
Amended Answers (ECF 93 & 94, respectively) (collectively, “SAAs”) under Rule 12(f) of the Federal Rules of Civil
Procedure Rule, and a motion for sanctions under U.S.C. § 1927 and the Court’s inherent authority to impose such
penalties.

As to Plaintiff’s 12(b)(6) motion, Plaintiff will seek to dismiss every cause of action set forth in the SACC. As a preliminary
matter and notwithstanding the numerous pleading defects set forth below, for the third time, FF has set forth a wholly
implausible theory of liability. For example, FF scatters droppings of “facts” which, even if true (which they are not)
cannot give rise to a colorable cause of action, detailed below. Moreover, any new purported facts or legal theories set
forth in the SACC have been available to FF prior to the inception of this Action and could have been alleged in the initial
Counterclaim or the Amended Counterclaim; yet FF has waited no less than 15 months, three pleadings, two motions to
dismiss, and an accelerated litigation schedule and jury trial ordered by the Court to raise these new-fangled claims with
but three months until trial begins. Additionally, it is implausible that Smart King, having been represented by Sidley
Austin LLP (“Sidley Austin”) in the Evergrande Transaction, which valued Smart King at $4.5 billion, was not represented
by counsel in connection with the drafting and negotiating of Plaintiff’s Employment Agreement; it is implausible that
Defendants did not have Sidley Austin (or other competent legal counsel) review and approve of the Employment
Agreement when, by its terms, the Employment Agreement promises to give Plaintiff 2% of Smart King pursuant to the
Evergrande Transaction. By the SACC, FF also contradicts allegations set forth in its previous pleadings, warranting
dismissal.

Moreover, it is clear to Plaintiff that FF has made numerous allegations in bad faith, knowing that such allegations were
false or with reckless disregard for their truth. Indeed, while FF maintains that Plaintiff allegedly took advantage of FF by
purportedly drafting the Employment Agreement by himself, supposedly inducing FF into entering into the Employment
on terms that were somehow unfairly actionable to the Company while failing to advise FF to seek the advice of counsel,
FF fails to disclose to the Court that during the negotiation and drafting of the Employment Agreement:

        Sidley Austin reviewed and approved of the Employment Agreement’s terms (as well as those in the Director
         Compensation Agreement);
        Jerry Wang (whose English is perfectly sophisticated) negotiated and drafted the Employment Agreement with
         Plaintiff;
        Plaintiff accepted numerous material terms sought by FF;
        Numerous material terms were initially included in the Employment Agreement’s Term Sheet, which was given
         to Plaintiff by FF as the parties began negotiating the terms of Plaintiff’s employment.

These material omissions constitute a fraud on the Court, render the SACC a frivolous and harassing filing, and warrant
sanctions.

Notwithstanding the above-referenced defects, the SACC fails to adequately state a claim. As a preliminary matter, the
SACC sounds in fraud and, as a result, many of the SACC’s causes of action, including constructive fraud, both counts of
breach of fiduciary duty, and unlawful and fraudulent business practices are inadequately pled. By way of reference and
for supporting case law, we direct you to Sections I.A-E of Plaintiff’s Memorandum of Law in Support of Plaintiff’s
Motion to Dismiss FF’s Amended Counterclaim. (ECF 90-1) (“Motion to Dismiss”).

Furthermore, FF’s claim for purported violations of New York and California’s rules of professional conduct are
inadequately pled. First, the gravamen of these claims – that a company’s outside counsel cannot join the company as
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                                                                                             Exhibit 1, Page 5
        Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 4 of 28 Page ID
                                         #:1894
its GC – is nonsensical and contrary to the general practice of law. Additionally, the SACC fails to allege how Plaintiff
purportedly breached any duty he owed to FF, how he misled FF, and/or what Plaintiff failed to disclose to FF. These
pleading defects are particularly grievous in light of FF’s reckless disregard of the facts underlying the negotiation and
drafting of the Employment Agreement – facts referenced above which FF has failed to disclose to Court.

FF’s claim based on a theory of unconscionability fails, as the SACC does not allege that claims’ required elements.

As to Plaintiff’s motion to strike, Plaintiff will seek to strike all of FF and Smart King’s affirmative defenses for the reasons
set forth in Plaintiff’s Motion to Dismiss. By way of a reference to applicable case law, we direct you to Section IV of
Plaintiff’s Motion to Dismiss.

Potential resolution of this matter can be achieved subject to your withdrawal of the SACC and your affirmative
defenses, in addition to payment of legal fees of Plaintiff’s counsel.

We are available to discuss this with you on Monday or Tuesday of the coming week, March 22nd or 23rd. Please let us
know when you are available.

Regards,

-Jake


Jake Nachmani, Esq.
Counsel
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1723
Mobile: (323) 810-0044
www.seidenlawgroup.com



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                                                                                               Exhibit 1, Page 6
Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 5 of 28 Page ID
 Troutman Pepper Hamilton Sanders LLP
                                      #:1895
 5 Park Plaza, Suite 1400
 Irvine, CA 92614

 troutman.com


 Jeffrey M. Goldman
 D 949.567.3547
 F 866.728.3537
 jeffrey.goldman@troutman.com



 Via E-mail

 March 22, 2021

 Jake Nachmani
 Seiden Law Group, LLP
 469 Seventh Avenue, 5thFl.
 New York, NY 10018
 jnachmani@seidenlegal.com

 Re:     Meet and Confer re Motion to Dismiss Counterclaimant Faraday & Future’s Second
         Amended Cross-Complaint

 Dear Mr. Nachmani:

 We write in response to your email below, in which you have threatened to file an unmeritorious
 motion to dismiss Counterclaimant Faraday & Future’s (“Counterclaimant”) Second Amended
 Cross-Complaint (“SAC”).

 Liu Has Once Again Violated C.D. Cal. L.R. 7-3

 Central District of California Local Rule 7-3 expressly mandates that the meet and confer
 conference prerequisite to your threatened motion to dismiss be conducted no less than seven
 (7) days prior to your March 25, 2021 deadline to file that motion. As such, your e-mail sent
 after the close of business on Friday, March 19, 2021, first seeking to coordinate a meet-and-
 confer call during the week of March 22, 2021, is both untimely and in direct violation of Local
 Rule 7-3 which required completion of that meet-and-confer conference by no later than
 Thursday, March 18, 2021. See C.D. Cal. L.R. 7-3.

 Notably, this is the second time in less than three weeks that Plaintiff Hong Liu (“Liu”) has failed
 to meet-and-confer at least seven days before his filing deadline in violation of Central District of
 California Local Rule 7-3’s unambiguous requirements, despite having been expressly and
 repeatedly advised of those requirements by Counterclaimant verbally, in written
 correspondence, and in a court filing. Furthermore, Liu’s continuing failure and refusal to abide
 by Central District of California Local Rule 7-3 is prejudicial to Counterclaimant as it is a tactic
 now transparently being used by Liu to attempt to delay the pleadings from being “closed” in
 order to prevent Counterclaimant from filing its previously referenced Motion for Judgment on
 the Pleadings in response to Liu’s Complaint. To that end, in addition to the fact that Liu’s
 threatened Motion to Dismiss will not be heard until April 22, 2021, at the earliest, it also is not
 clear whether the Court will issue a ruling that day, or how much time the Court would provide (i)
 Liu to answer the SAC in the event his threatened motion to dismiss is denied; or (ii)




                                                                               Exhibit 1, Page 7
Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 6 of 28 Page ID
                                 #:1896
 Jake Nachmani
 March 22, 2021
 Page 2




 Counterclaimant to amend should that motion be granted. Accordingly, please let us know
 immediately whether Liu is willing to agree to extend the current May 11, 2021 motion cut-off
 date to allow Counterclaimant to file the Motion for Judgment on the Pleadings up to seven days
 after the pleadings are “closed,” absent which Counterclaimant reserve, and will pursue, all
 appropriate actions available to it in response to Liu’s open flouting of Local Rule 7-3, and to
 redress the obvious and intended prejudice resulting from that violation.

 Liu’s Proffered Motion to Dismiss Arguments are Legally Baseless

 Without waiving, and in express reservation of, Counterclaimant’s position that the Motion to
 Dismiss should be stricken or denied by virtue of your violation of Local Rule 7-3, we turn now to
 your vague allusions to the grounds of Liu’s claims.

 First, the SAC’s causes of action relating to your client’s violations of the Rules of Professional
 Conduct, and the statutory bars on practicing law without a license in California, are clearly not
 grounded in fraud. Rather, they are properly based on Liu’s manifest failures to abide by his
 ethical obligations and to clear conflicts of interest, the “mere instance” of which—contrary to
 being subject to any “heightened” pleading standard baldly proclaimed in your letter—actually
 and legally gives rise to a presumption of undue influence by Liu, which he cannot rebut here:

                  ‘[A] transaction between an attorney and client which occurs during
                  the relationship and which is advantageous to the attorney is
                  presumed to violate that fiduciary duty and to have been entered
                  into without sufficient consideration and under undue
                  influence.’ (Lewin v. Anselmo (1997) 56 Cal.App.4th 694, 701 [65
                  Cal. Rptr. 2d 682].) As explained long ago in Felton v. Le
                  Breton (1891) 92 Cal. 457, 469 [28 P. 490]: ‘While an attorney is
                  not prohibited from having business transactions with his client, yet,
                  inasmuch as the relation of attorney and client is one wherein the
                  attorney is apt to have very great influence over the client,
                  especially in transactions which are a part of or intimately
                  connected with the very business in reference to which the relation
                  exists, such transactions are always scrutinized by courts with
                  jealous care, and are set aside at the mere instance of the client,
                  unless the attorney can show by extrinsic evidence that his client
                  acted with full knowledge of all the facts connected with such
                  transaction, and fully understood their effect; and in any attempt by
                  the attorney to enforce an agreement on the part of the client
                  growing out of such transaction, the burden of proof is always upon
                  the attorney to show that the dealing was fair and just, and that the
                  client was fully advised.’ (See also Gold v. Greenwald (1966) 247
                  Cal. App. 2d 296, 305 [55 Cal. Rptr. 660].)

 BGJ Assocs. v. Wilson, 113 Cal. App. 4th 1217, 1227-28 (2003).




                                                                                Exhibit 1, Page 8
Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 7 of 28 Page ID
                                 #:1897
 Jake Nachmani
 March 22, 2021
 Page 3




 Liu cannot rebut the presumption of his undue influence over Counterclaimant for several
 reasons, including his indisputable failure to give Counterclaimant “all that reasonable advice
 against himself that he would have given him against a third person” (Beery v. State Bar, 43
 Cal. 32 802, 813 (1987)), let alone do so at the pleading stage where all of Counterclaimant’s
 allegations are required to be accepted as true. Moreover, even assuming, incorrectly, that a
 heightened pleading standard did hypothetically apply, Counterclaimant clearly met that
 hypothetical standard by detailing the obligations owed to it by Liu, as well as Liu’s failures to
 abide by those obligations prior to executing the Employment Agreement, legally entitling
 Counterclaimant to redress Liu’s ethical violations through the SAC’s causes of actions seeking
 (i) to rescind or otherwise invalidate the Employment Agreement; as well as (ii) the forfeiture of
 fees. See, e.g., Fair v. Bakhtiari, 195 Cal. App. 4th 1135, 1153 (2011) (“An attorney may violate
 the statute and breach his or her fiduciary duties to the client without causing the client
 damages. It makes sense to require proof of damages where the client seeks compensatory
 damages as a tort remedy for breach of fiduciary duty, but not if the client seeks only forfeiture
 of fees. The purpose of compensatory damages is to make plaintiffs whole for harm caused by
 defendants. Forfeiture of legal fees serves several different purposes. It deters attorney
 misconduct and recognizes that damage caused by attorney misconduct is often difficult to
 assess. It prevents fiduciaries from profiting from their fiduciary breach and disloyalty. Like
 compensatory damages, it compensates clients for harm they have suffered, but it reflects not
 the harms the clients suffer from the tainted representation, but the decreased value of the
 representation itself.”) (citations omitted).

 Second, your unsubstantiated contentions as to the timing of the SAC are belied by the Court’s
 recent Order confirming the propriety of Counterclaimant’s filing of the SAC as a matter of right
 and correspondingly denying Liu’s immediately prior motion to dismiss as moot.

 Finally, the SAC’s gravamen is not, as you claim, “that a company’s outside counsel cannot join
 the company as its GC.” To the contrary, as evident on its face, the gravamen of the SAC is
 that a “company’s outside counsel cannot join the company as its GC” unless he complies
 with the Rules of Professional Responsibility and related statutory authority in
 negotiating his agreement with the company. Put simply, Liu was in a position of trust with
 Counterclaimant as the lead attorney representing it at Mayer Brown, and was legally required
 to inform it of each of the matters detailed in the SAC. Rather than do so, Liu used his ethical
 violations to financially benefit himself to the detriment of his client, while simultaneously
 practicing law in California without a license. As plainly established by the law cited in the SAC,
 as well as above, all of these matters are properly alleged in the SAC and are legally not subject
 to dismissal.

 Counterclaimant Did Not Omit Any Necessary Allegations

 Contrary to your position, there are no “undisclosed” facts that needed to be pleaded in the
 SAC. Counterclaimant has set forth the pertinent and unvarnished facts, and needs not present
 facts that are irrelevant to the SAC, Liu’s attempt to avoid the consequences of his unethical




                                                                             Exhibit 1, Page 9
Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 8 of 28 Page ID
                                 #:1898
 Jake Nachmani
 March 22, 2021
 Page 4




 conduct by manufacturing statements that he would have liked to see in the SAC,
 notwithstanding. To that end, and by way of representative example:

 Your claim that Sidley Austin “reviewed and approved of the Employment Agreement’s terms” is
 a gross misstatement of fact. Sidley Austin did not represent Counterclaimant in the transaction
 with Liu. Indeed, even assuming, incorrectly, that were not the case, the presence of any
 independent counsel on Counterclaimant’s behalf would not legally condone Liu’s violations of
 the Rules of Professional Conduct. Moreover, the fact that Liu’s false suppositions are
 premised upon alleged matters to which he purportedly was exposed while serving as
 Counterclaimant’s counsel (either at Mayer Brown or while employed by Counterclaimant), is
 itself troubling, as well as gives rise to Liu’s commission of additional ethical violations,
 particularly where his use of any privileged information in any way, shape, or form is legally
 prohibited, and would constitute further breaches of his ethical obligations and of his duty of
 loyalty. See, e.g., Cal. R. Prof. Resp. 1.8.2; N.Y. R. Prof. Resp. 1.8(b). Please be advised that,
 Iif Liu presents any privileged information in his threatened motion to dismiss, Counterclaimant
 will pursue any and all available remedies.

 Similarly, your claim that Mr. Wang’s English is “perfectly sophisticated” is irrelevant, as
 Counterclaimant properly and accurately alleged that he is not a native English speaker and Liu,
 who previously communicated with Mr. Wang extensively in Mandarin, cannot deny the truth of
 that statement, particularly on a motion to dismiss.

 Finally, your claim that “numerous material terms were initially included in the Employment
 Agreement’s Term Sheet” and that Counterclaimant “accepted numerous material terms sought
 by FF,” does not obviate Liu’s obligations to abide by his ethical obligations. To the contrary, if
 anything, it’s damning to Liu’s defense if he allegedly saw material terms that unfairly benefitted
 him before a formal agreement was prepared, and thereafter failed to provide the required
 disclosures, failed to obtain the necessary informed written consent and conflict waivers, and
 failed to provide all of the reasonable advice against himself that he would have given him
 against a third person, as all required by law.

 Conclusion

 It is our sincere hope that Liu will refrain from filing his threatened, legally spurious motion to
 dismiss. Should he proceed to do so, Counterclaimant will have no choice but to pursue all
 appropriate remedies available to it. In the hope of persuading Liu to comply with his legal
 obligations to refrain from filing his threatened motion to dismiss, without waiving, and in




                                                                               Exhibit 1, Page 10
Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 9 of 28 Page ID
                                 #:1899
 Jake Nachmani
 March 22, 2021
 Page 5




 express reservation of, Counterclaimant’s rights with respect to Liu’s above-referenced violation
 of Local Rule 7-3, we are available to meet and confer at any time after 10:00 a.m. PST on
 Tuesday, March 23, 2021.

 Sincerely,



 Jeffrey M. Goldman




                                                                          Exhibit 1, Page 11
Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 10 of 28 Page ID
                                  #:1900




                    EXHIBIT 2
        Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 11 of 28 Page ID
                                          #:1901

Grochow, Lauren

From:                              Jake Nachmani <jnachmani@seidenlawgroup.com>
Sent:                              Tuesday, March 30, 2021 4:50 PM
To:                                Goldman, Jeffrey M.; Crisp, Kevin; Kessel, Alan J.; Grochow, Lauren; Willow-Johnson,
                                   Mackenzie Lee
Cc:                                Amiad Kushner; Andrew Sklar; Kevin Hughes
Subject:                           Re: Liu v. Faraday&Future, Inc., et al.



EXTERNAL SENDER

Counsel – There is a correction in the last paragraph of the below email which we would like address. We are resending
the updated email in its entirety below …

Counsel –

This email serves to memorialize the meet and confer conference call held on March 23, 2021 concerning Plaintiff’s
motion to dismiss FF’s Second Amended Counterclaim (ECF 95) (“SACC”), Plaintiff’s motion for sanctions, and
Defendant’s motion for judgment on the pleadings.

As a preliminary matter, we raised the issue of your allowing us to have an extension of time to file our motion to
dismiss, given the new theories set forth in SACC, the abridged litigation schedule in light of the Court’s ordered June 8,
2021 trial date, and, in terms of reciprocity between the parties, the fact that we effectively provided Defendants with
more than five weeks to respond to Plaintiff’s initial motion to dismiss. You rejected our proposed extension. Instead,
you said that such an extension would be acceptable only if Plaintiff extended the time to file motions beyond the
agreed-upon May 11, 2021 cut-off date. ECF 92. We explained that we could not agree to that, as Defendants’ currently
being unable to file their motion for judgment on the pleadings was entirely a situation of Defendants’ making: the
pleadings remain open here because, at this late date, with approximately less than three months until trial, Defendants
have chosen to file a second amended counterclaim, alleging claims and theories which could have been brought at the
very inception of this action, in January 2020, and that the current litigation schedule was not only agreed-upon by the
parties but initially provided by Defendants themselves. All of this notwithstanding, the parties could not agree to an
arrangement; Plaintiff filed his ex parte application for leave for an extension of time (ECF 99), Defendants objected (ECF
104), submitting a 14 page opposition brief, and the Court granted Plaintiff’s application. ECF 106.

As to Plaintiff’s motion to dismiss the SACC, Plaintiff once again set forth the numerous grounds for his to-be-filed
12(b)(6) motion, including the following:

        The allegations set forth in the SACC are implausible on their face, as detailed in Plaintiff’s numerous emails sent
         pursuant to Local Rule 7-3.
        As to FF’s claims concerning purported violations of professional conduct, the facts as alleged simply cannot give
         rise to liability under those provisions.
        As to FF’s claims sounding in fraud, including but not limited to constructive fraud, illegal or fraudulent business
         practices, and breach of fiduciary duty, once again FF’s pleadings fail to meet the requirements of Rule 9(b).

As to the basis for Plaintiff’s motion for sanctions, we asked you if the law firm of Sidley Austin reviewed, approved of or
helped negotiate any terms of the Employment Agreement. You responded that, in connection with the Employment
Agreement, “Sidley did not represent Faraday.” You did not answer the question we asked, which was significantly
more detailed than your broad response. You did mention that you were concerned that, in connection with our motion
to dismiss and for sanctions, we would be using “privileged information.” We explained that any materials we would be
using would no longer privileged and that we would have a good faith basis to use those materials.
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                                                                                            Exhibit 2, Page 8
        Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 12 of 28 Page ID
                                          #:1902

We then turned to discussing Defendants’ motion for judgment on the pleadings.

You maintained that Plaintiff’s claim for intentional infliction of emotional distress was preempted. We maintained that
it was not and that we would not be withdrawing it at that time. You asked us if we would withdraw our claim under
Section 10(b)(5) of the Exchange Act; we said we would not be withdrawing it at that time. As to the fraudulent
inducement and negligent misrepresentation claims, you maintained that these claims are no more than breach of
contract claims. We responded that that analysis was incorrect: these claims are colorable because Defendants made
false statements upon which Plaintiff relied, not as is the case with a breach of contract claim because Defendants didn’t
make good on their promises (cf. FF’s initial and Amended Counterclaims). Finally, you mentioned that as to Plaintiff’s
claim for wrongful termination, it was inappropriate for a company’s in-house counsel to bring this claim unless it fell
within the narrow scope of General Dynamics Corporation, which in your view Plaintiff does not qualify. Moreover, you
added that Plaintiff could not use privileged information to prosecute his wrongful termination claim.

Finally, the call concluded with a discussion concerning the use of privileged information. Citing Defendants’ previous
reference to the fact that, in Defendants’ view, Plaintiff cannot use privileged information in his motion to dismiss or use
it to prosecute Plaintiff’s wrongful termination claim, we asked if it was Defendants’ position that FF could use privileged
information to prosecute its breach of contract counterclaim. It was your position that as to the subject matter of
Plaintiff’s failure to perform competently on the job for FF, as FF alleges in the SACC, privileged communications were at
issue and could be used by FF; however, in your view, all other communications between Plaintiff and FF would be
subject to the attorney-client privilege. We disagreed in full with your position as applied here.

Regards,

-Jake




From: Jake Nachmani <jnachmani@seidenlawgroup.com>
Date: Tuesday, March 30, 2021 at 7:02 PM
To: Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>, Crisp, Kevin <Kevin.Crisp@Troutman.com>,
Kessel, Alan J. <Alan.Kessel@Troutman.com>, Grochow, Lauren <Lauren.Grochow@Troutman.com>, Willow-
Johnson, Mackenzie Lee <Mackenzie.Willow-Johnson@Troutman.com>
Cc: Amiad Kushner <akushner@seidenlawgroup.com>, Andrew Sklar <asklar@seidenlawgroup.com>, Kevin
Hughes <kevin@foundationlaw.com>
Subject: RE: Liu v. Faraday&Future, Inc., et al.

Counsel –

This email serves to memorialize the meet and confer conference call held on March 23, 2021 concerning Plaintiff’s
motion to dismiss FF’s Second Amended Counterclaim (ECF 95) (“SACC”), Plaintiff’s motion for sanctions, and
Defendant’s motion for judgment on the pleadings.

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dismiss, given the new theories set forth in SACC, the abridged litigation schedule in light of the Cour’s ordered June 8,
2021 trial date, and, in terms of reciprocity between the parties, the fact that we effectively provided Defendants with
more than five weeks to respond to Plaintiff’s initial motion to dismiss. You rejected our proposed extension. Instead,
you said that such an extension would be acceptable only if Plaintiff extended the time to file motions beyond the
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being unable to file their motion for judgment on the pleadings was entirely a situation of Defendants’ making: the
pleadings remain open here because, at this late date, with approximately less than three months until trial, Defendants

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                                                                                           Exhibit 2, Page 9
        Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 13 of 28 Page ID
                                          #:1903
have chosen to file a second amended counterclaim, alleging claims and theories which could have been brought at the
very inception of this action, in January 2020, and that the current litigation schedule was not only agreed-upon by the
parties but initially provided by Defendants themselves. All of this notwithstanding, the parties could not agree to an
arrangement; Plaintiff filed his ex parte application for leave for an extension of time (ECF 99), Defendants objected (ECF
104), submitting a 14 page opposition brief, and the Court granted Plaintiff’s application. ECF 106.

As to Plaintiff’s motion to dismiss the SACC, Plaintiff once again set forth the numerous grounds for his to-be-filed
12(b)(6) motion, including the following:

        The allegations set forth in the SACC are implausible on their face, as detailed in Plaintiff’s numerous emails sent
         pursuant to Local Rule 7-3.
        As to FF’s claims concerning purported violations of professional conduct, the facts as alleged simply cannot give
         rise to liability under those provisions.
        As to FF’s claims sounding in fraud, including but not limited to constructive fraud, illegal or fraudulent business
         practices, and breach of fiduciary duty, once again FF’s pleadings fail to meet the requirements of Rule 9(b).

As to the basis for Plaintiff’s motion for sanctions, we asked you if the law firm of Sidley Austin reviewed, approved of or
helped negotiate any terms of the Employment Agreement. You responded that, in connection with the Employment
Agreement, “Sidley did not represent Faraday.” You did not answer the question we asked, which was significantly
more detailed than your broad response. You did mention that you were concerned that, in connection with our motion
to dismiss and for sanctions, we would be using “privileged information.” We explained that any materials we would be
using would no longer privileged and that we would have a good faith basis to use those materials.

We then turned to discussing Defendants’ motion for judgment on the pleadings.

You maintained that Plaintiff’s claim for intentional infliction of emotional distress was preempted. We maintained that
it was not and that we would not be withdrawing it at that time. You asked us if we would withdraw our claim under
Section 10(b)(5) of the Exchange Act; we said we would not be withdrawing it at that time. As to the fraudulent
inducement and negligent misrepresentation claims, you maintained that these claims are no more than breach of
contract claims. We responded that that analysis was incorrect: these claims are colorable because Defendants made
false statements upon which Plaintiff relied, not as is the case with a breach of contract claim because Defendants didn’t
make good on their promises (cf. FF’s initial and Amended Counterclaims). Finally, you mentioned that as to Plaintiff’s
claim for wrongful termination, it was inappropriate for a company’s in-house counsel to bring this claim unless it fell
within the narrow scope of General Dynamics Corporation, which in your view Plaintiff does not qualify. Moreover, you
added that Plaintiff could not use privileged information to prosecute his wrongful termination claim.

Finally, the call concluded with a discussion concerning the use of privileged information. Citing Defendants’ previous
reference to the fact that, in Defendants’ view, Plaintiff cannot use privileged information in his motion to dismiss or use
it to prosecute Plaintiff’s wrongful termination claim, we asked if it was Defendants’ position that Plaintiff could not use
privileged information to prosecute his breach of contract claim. It was your position that as to the subject matter of
Plaintiff’s failure to perform competently on the job for FF, as FF alleges in the SACC, privileged communications were at
issue and could be used; however, in your view, all other communications between Plaintiff and FF would be subject to
the attorney-client privilege. We disagreed in full with your position as applied here.

Regards,

-Jake



From: Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>
Sent: Monday, March 22, 2021 5:28 PM
To: Jake Nachmani <jnachmani@seidenlawgroup.com>; Crisp, Kevin <Kevin.Crisp@Troutman.com>; Kessel, Alan J.
                                                              3


                                                                                          Exhibit 2, Page 10
         Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 14 of 28 Page ID
                                           #:1904
<Alan.Kessel@Troutman.com>; Grochow, Lauren <Lauren.Grochow@Troutman.com>; Willow-Johnson, Mackenzie Lee
<Mackenzie.Willow-Johnson@Troutman.com>
Cc: Amiad Kushner <akushner@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
<kevin@foundationlaw.com>
Subject: RE: Liu v. Faraday&Future, Inc., et al.

Jake,

As stated in my letter, I am available at any time after 10 am PDT tomorrow, March 23, 2021.

- Jeff


---
Sent from Workspace ONE Boxer

On March 22, 2021 at 2:24:56 PM PDT, Jake Nachmani <jnachmani@seidenlawgroup.com> wrote:
EXTERNAL SENDER

Jeff,

We would like to meet and confer with you. When are you available to do so?

Of course, we take issue with your framing of the phrase “threatening.” This is not so. We are providing
Defendants with notice pursuant our obligations under the Local Rules.

Regards,

Jake


Jake Nachmani, Esq.
Counsel
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1723
Mobile: (323) 810-0044
www.seidenlawgroup.com



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                                                             4


                                                                                          Exhibit 2, Page 11
       Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 15 of 28 Page ID
                                         #:1905

From: Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>
Sent: Monday, March 22, 2021 5:11 PM
To: Jake Nachmani <jnachmani@seidenlawgroup.com>; Crisp, Kevin <Kevin.Crisp@Troutman.com>; Kessel, Alan
J. <Alan.Kessel@Troutman.com>; Grochow, Lauren <Lauren.Grochow@Troutman.com>; Willow-Johnson,
Mackenzie Lee <Mackenzie.Willow-Johnson@Troutman.com>
Cc: Amiad Kushner <akushner@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin
Hughes <kevin@foundationlaw.com>
Subject: RE: Liu v. Faraday&Future, Inc., et al.

Jake,

Let’s further discuss the matters discussed in my March 16, 2021 correspondence concerning the
Motion for Judgment on the Pleadings when we discuss your threatened motion to dismiss and motion
to strike.

Sincerely,

Jeff

Jeffrey M. Goldman
Partner
troutman pepper
Direct: 949.567.3547 | Internal: 814-3547
jeffrey.goldman@troutman.com

From: Jake Nachmani <jnachmani@seidenlawgroup.com>
Sent: Tuesday, March 16, 2021 10:45 AM
To: Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>; Crisp, Kevin <Kevin.Crisp@Troutman.com>; Kessel,
Alan J. <Alan.Kessel@Troutman.com>; Grochow, Lauren <Lauren.Grochow@Troutman.com>; Willow-Johnson,
Mackenzie Lee <Mackenzie.Willow-Johnson@Troutman.com>
Cc: Amiad Kushner <akushner@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin
Hughes <kevin@foundationlaw.com>
Subject: RE: Liu v. Faraday&Future, Inc., et al.

EXTERNAL SENDER
Counsel,

We are in receipt of and have reviewed the below-referenced (and attached) letter dated March 15, 2021
(“March 15 Letter”). We write in response thereto.

As a preliminary matter, Plaintiff is willing to meet and confer with you on the substance of your motion for
judgment on the pleadings, pursuant to Rule 12(c) of the Federal Rules of Civil Procedure (“Rule 12(c)”).

However and as you should know, a motion under Rule 12(c) may be filed only “[a]fter the pleadings are
closed.” Fed. R. Civ. P. 12(c). Because Rule 7(a) of the Federal Rules of Civil Procedure designates a
counterclaim as a pleading, the Ninth Circuit holds that, for the purposes of Rule 12(c), the pleadings are closed
only when the counterclaim too is closed. See Doe v. United States, 419 F.3d 1058, 1061 (9th Cir. 2005).

Here, FF’s 12(c) motion is entirely premature, as the pleadings are not closed. Indeed, FF’s filing the Second
Amended Counterclaim (ECF 95) (“SACC”) has kept the pleadings open, rendering the filing of Defendants’ 12(c)
motion premature. Plaintiff has not yet answered and/or moved to dismiss the SACC. Underscoring the
relevance of this, FF relies squarely on the allegations (albeit defective ones) in the SACC as grounds for dismissal
                                                              5


                                                                                          Exhibit 2, Page 12
        Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 16 of 28 Page ID
                                          #:1906
of Plaintiff’s breach of contract claim. See March 12, 2021 Letter at 2. Moreover, in the event that Plaintiff
moves to dismiss some or all of FF’s new-fangled counterclaims, the pleadings will be closed only after the Court
resolves that motion, subject to Plaintiff’s having filed his reply brief. Accordingly and for all these reasons, the
pleadings are not closed, and FF’s motion is untimely; caselaw from within this Circuit is clear on this. See
Buckhorn v. Hettinger, 2020 WL 5910070, at *7 (N.D. Cal. Oct. 6, 2020) (denying defendant’s motion to dismiss
on the pleadings where defendant had also filed a counterclaim which, at the time of defendant’s 12(c) motion,
plaintiff had not yet answered); Johnson v. Mazza, 2016 WL 11505262, at *3 (C.D. Cal. Sept. 20, 2016) (noting
that defendants’ 12(c) motion was timely only because (i) defendants had filed an answer and (ii) “no
counterclaim or cross-claims ha[d] been filed.”); Sebastian Brown Prods. LLC v. Muzooka Inc., 2016 WL 949004,
at *4 (N.D. Cal. Mar. 14, 2016) (noting that defendants’ motion to dismiss complaint under 12(c) was premature
because defendants had filed a counterclaim which plaintiff had not yet answered); IconFind, Inc. v. Google, Inc.,
2011 WL 4505817, at *1 (E.D. Cal. June 3, 2011) (dismissing defendant’s12(c) motion as premature where
defendant also filed counterclaims to which plaintiff had not yet responded).

Moreover, given the June 2021 trial date, it is hard to imagine that this motion, whether prematurely brought
pursuant to your March 15 Letter or upon disposition of FF’s SACC, would not delay trial, providing an additional
basis for why this motion should not be brought.

To the extent Defendants can provide controlling case law to the contrary, please share that with us
expeditiously.

We are available to meet and confer with you on this motion on Friday, March 19, 2021 or on Monday of next
week.

Regards,

-Jake


Jake Nachmani, Esq.
Counsel
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1723
Mobile: (323) 810-0044
www.seidenlawgroup.com



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                                                                                          Exhibit 2, Page 13
     Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 17 of 28 Page ID
                                       #:1907
From: Lybarger, Felisa H. <Felisa.Lybarger@troutman.com>
Sent: Tuesday, March 16, 2021 12:08 AM
To: Jake Nachmani <jnachmani@seidenlawgroup.com>; Amiad Kushner <akushner@seidenlawgroup.com>;
Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes <kevin@foundationlaw.com>
Cc: Goldman, Jeffrey M. <Jeffrey.Goldman@troutman.com>; Crisp, Kevin <Kevin.Crisp@troutman.com>; Kessel,
Alan J. <Alan.Kessel@troutman.com>; Grochow, Lauren <Lauren.Grochow@troutman.com>; Willow-Johnson,
Mackenzie Lee <Mackenzie.Willow-Johnson@troutman.com>
Subject: Liu v. Faraday&Future, Inc., et al.

Dear Counsel:

Please see the attached letter.

Thank you,

Felisa H. Lybarger
Legal Practice Assistant
Direct: 949.622.2750 | Internal: 18-2750
felisa.lybarger@troutman.com
────────────
troutman pepper
5 Park Plaza, Suite 1400
Irvine, CA 92614
troutman.com
────────────
A HIGHER COMMITMENT TO CLIENT CARE

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                                                                                          Exhibit 2, Page 14
Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 18 of 28 Page ID
                                  #:1908




                    EXHIBIT 3
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 19 of 28 Page ID
                                                                                                                                                #:1909


                                                                                                                1   LAUREN E. GROCHOW, Bar No. 293601
                                                                                                                    lauren.grochow@troutman.com
                                                                                                                2   TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                                                                                    5 Park Plaza, Suite 1400
                                                                                                                3   Irvine, CA 92614-2545
                                                                                                                    Telephone: 949.622.2700
                                                                                                                4   Facsimile: 949.622.2739
                                                                                                                5   DANIEL N. ANZISKA, Pro Hac Vice
                                                                                                                    daniel.anziska@troutman.com
                                                                                                                6   TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                                                                                    875 Third Avenue
                                                                                                                7   New York, NY 10022
                                                                                                                    Telephone: 212.704.6000
                                                                                                                8   Facsimile: 212.704.6288
                                                                                                                9   MACKENZIE L. WILLOW-JOHNSON, Pro Hac Vice
                                                                                                                    mackenzie.willow-johnson@troutman.com
                                                                                                               10   TROUTMAN PEPPER HAMILTON SANDERS LLP
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                    305 Church at North Hills Street, Suite 1200
                                                                                                               11   Raleigh, NC 27609
                                                                                                                    Telephone: 919.740.9949
                                                                                                               12   Facsimile: 704.998.4051
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                               13   Attorneys for Defendants
                                                                                                                    SMART KING LTD., JIAWEI WANG, and CHAOYING DENG
                                                                                                               14   and Defendant and Counterclaimant FARADAY&FUTURE INC.
                                                                                                               15                        UNITED STATES DISTRICT COURT
                                                                                                               16                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                               17                                WESTERN DIVISION
                                                                                                               18
                                                                                                               19   HONG LIU,                                Case No. 2:20-cv-08035-SVW-JPR
                                                                                                               20                  Plaintiff,                Honorable Stephen V. Wilson
                                                                                                               21           v.                               DEFENDANTS
                                                                                                                                                             FARADAY&FUTURE INC.,
                                                                                                               22   FARADAY&FUTURE INC.,                     SMART KING LTD., JIAWEI
                                                                                                                    SMART KING LTD., JIAWEI                  WANG, AND CHAOYING DENG’s
                                                                                                               23   WANG, and CHAOYING DENG,                 REQUEST FOR PRODUCTION OF
                                                                                                                                                             DOCUMENTS (SET THREE) TO
                                                                                                               24                  Defendants.               PLAINTIFF HONG LIU
                                                                                                               25
                                                                                                               26 AND RELATED COUNTERCLAIM.
                                                                                                               27
                                                                                                               28
                                                                                                                    114229690
                                                                                                                    DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND CHAOYING DENG’S
                                                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE) TO PLAINTIFF HONG LIU

                                                                                                                                                                           Exhibit 3, Page 15
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 20 of 28 Page ID
                                                                                                                                                #:1910


                                                                                                                1   PROPOUNDING PARTY:                Defendants SMART KING LTD., JIAWEI
                                                                                                                                                      WANG, and CHAOYING DENG and Defendant
                                                                                                                2                                     and Counterclaimant FARADAY&FUTURE INC.
                                                                                                                3
                                                                                                                    RESPONDING PARTY:                 Plaintiff HONG LIU
                                                                                                                4
                                                                                                                    SET NO.:                          THREE
                                                                                                                5
                                                                                                                6           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure,
                                                                                                                7   Defendants Smart King Ltd., Jiawei Wang, Chaoying Deng and Defendant and
                                                                                                                8   Counterclaimant Faraday&Future Inc. (collectively, “Defendants”) request that
                                                                                                                9   Plaintiff Hong Liu (“Liu”), in accordance with the instructions and definitions set
                                                                                                               10   forth herein, serve upon counsel for Defendants responses and responsive
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                               11   documents and things to these Requests within thirty days of service hereof. Liu is
                                                                                                               12   to produce for inspection/copying at the offices of Troutman Pepper Hamilton
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                               13   Sanders, LLP, 5 Park Plaza, Suite 1400, Irvine, California 92614-2545, all
                                                                                                               14   documents and other tangible things responsive to the following requests that are in
                                                                                                               15   Liu’s possession, custody, and control or wherever located, unless otherwise agreed
                                                                                                               16   to by counsel for the parties.
                                                                                                               17           If any materials are withheld from production based on a claim of privilege,
                                                                                                               18   please list the following for each item claimed to be privileged: (a) a brief
                                                                                                               19   description of the nature and contents of the matter claimed to be privileged; (b) the
                                                                                                               20   name, occupation and capacity of the individual(s) from whom the alleged
                                                                                                               21   privileged matter was directed; (c) the date the item bears; and (d) the privilege
                                                                                                               22   claimed.
                                                                                                               23                         DEFINITIONS AND INSTRUCTIONS
                                                                                                               24           The following definitions and instructions shall apply to this Request for
                                                                                                               25   Production of Documents:
                                                                                                               26           1.    The terms “YOU,” “YOUR” and “LIU” shall mean and refer to
                                                                                                               27   Plaintiff Hong Liu and his agents, employees, representatives, attorneys or anyone
                                                                                                               28
                                                                                                                    114229690                                  1
                                                                                                                    DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND CHAOYING DENG’S
                                                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE) TO PLAINTIFF HONG LIU

                                                                                                                                                                                Exhibit 3, Page 16
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 21 of 28 Page ID
                                                                                                                                                #:1911


                                                                                                                1   else acting on his behalf.
                                                                                                                2           2.   The term “FF” shall mean and refer to Defendant and Counterclaimant
                                                                                                                3   Faraday&Future Inc. and all of its agents, employees, representatives, or anyone
                                                                                                                4   else acting on its behalf.
                                                                                                                5           3.   The term “SMART KING” shall mean and refer to Defendant FF
                                                                                                                6   Intelligent Mobility Global Holdings Ltd. f/k/a Smart King, Ltd. and all of its
                                                                                                                7   agents, employees, representatives, or anyone else acting on its behalf.
                                                                                                                8           4.   The term “EMPLOYMENT AGREEMENT” refers to the
                                                                                                                9   Employment Agreement dated January 25, 2018 between LIU, FF, and SMART
                                                                                                               10   KING.
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                               11           5.   The term “MAYER” refers to the law firm Mayer Brown, LLP and all
                                                                                                               12   of its agents, employees, representatives, or anyone else acting on its behalf.
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                               13           6.   The terms “DOCUMENT” or “DOCUMENTS” shall be understood to
                                                                                                               14   apply to any tangible or intangible record or communication, including
                                                                                                               15   electronically stored information, and shall include, without limitation, any kind of
                                                                                                               16   written, typewritten, printed, recorded or reproduced material whatsoever,
                                                                                                               17   including, without limitation, COMMUNICATIONS, calendars, diaries, journals,
                                                                                                               18   notes, memoranda, letters, emails, instant messages, texting messages, blogs,
                                                                                                               19   internet or social media postings, reports, summaries, financial statements, police
                                                                                                               20   reports, and other financial records, microfilms, photographs, publications,
                                                                                                               21   contracts, recordings, information on computer disks, information on computer hard
                                                                                                               22   drives, e-mails, electronic media, transcriptions of recordings and business records.
                                                                                                               23   The terms “DOCUMENT” or “DOCUMENTS” shall also include, without
                                                                                                               24   limitation, originals, duplicates, all file copies, all other copies (with or without
                                                                                                               25   notes or changes thereon) no matter how prepared, drafts, working papers, routing
                                                                                                               26   slips and similar materials. The terms “DOCUMENT” or “DOCUMENTS” shall
                                                                                                               27   also include any file or other container holding, or which at any time held, any
                                                                                                               28
                                                                                                                    114229690                                   2
                                                                                                                    DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND CHAOYING DENG’S
                                                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE) TO PLAINTIFF HONG LIU

                                                                                                                                                                                 Exhibit 3, Page 17
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 22 of 28 Page ID
                                                                                                                                                #:1912


                                                                                                                1   document, as well as any writing or other COMMUNICATION that appears or
                                                                                                                2   appeared on or affixed to such file or container.
                                                                                                                3           7.    The terms “COMMUNICATION” or “COMMUNICATIONS” means
                                                                                                                4   the transmission, whether orally, electronically, or in writing, by any means of a
                                                                                                                5   word, statement, fact, thing, idea, document, instruction, demand or question, and
                                                                                                                6   include any documents which abstract, digest, transcribe or record any such
                                                                                                                7   communication.
                                                                                                                8           8.    The terms “REFLECTING” or “RELATING TO” shall be construed
                                                                                                                9   in the broadest sense to mean consisting of, referring to, pertaining to, reflecting,
                                                                                                               10   constituting, identifying, memorializing, mentioning, evidencing, constituting, or
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                               11   otherwise relevant to, in any way, in whole or in part, the subject matter referred to
                                                                                                               12   in the request.
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                               13           9.    The term “INFORMED CONSENT” shall have the same definition as
                                                                                                               14   it does under New York Rules of Professional Conduct 1.0(j), which states:
                                                                                                               15                 “Informed consent” denotes the agreement by a person to
                                                                                                                                  a proposed course of conduct after the lawyer has
                                                                                                               16                 communicated information for the person to make an
                                                                                                                                  informed decision, and after the lawyer has adequately
                                                                                                               17                 explained to the person the material risks of the proposed
                                                                                                                                  course of conduct and reasonably available alternatives.
                                                                                                               18
                                                                                                                            10.   The singular form of a noun or pronoun includes within its meaning
                                                                                                               19
                                                                                                                    the plural form of the noun or pronoun used, and vice versa; the use of the feminine
                                                                                                               20
                                                                                                                    form of a pronoun includes within its meaning the masculine form of the pronoun
                                                                                                               21
                                                                                                                    used, and vice versa; and the use of any tense of any verb includes within its
                                                                                                               22
                                                                                                                    meaning all other tenses of the verb used.
                                                                                                               23
                                                                                                                            11.   Whenever used herein, “and” shall be understood to mean “or” and
                                                                                                               24
                                                                                                                    vice versa, whenever such construction results in a broader request for information.
                                                                                                               25
                                                                                                                            12.   If YOU object to any Request for Production in any part, YOU shall
                                                                                                               26
                                                                                                                    respond fully to the extent not objected to, and shall set forth specifically the
                                                                                                               27
                                                                                                                    grounds upon which the objection is based.
                                                                                                               28
                                                                                                                    114229690                                    3
                                                                                                                    DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND CHAOYING DENG’S
                                                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE) TO PLAINTIFF HONG LIU

                                                                                                                                                                                Exhibit 3, Page 18
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 23 of 28 Page ID
                                                                                                                                                #:1913


                                                                                                                1                          REQUESTS FOR PRODUCTION
                                                                                                                2   REQUEST FOR PRODUCTION NO. 1:
                                                                                                                3           All COMMUNICATIONS between YOU and any third-party RELATING
                                                                                                                4   TO the EMPLOYMENT AGREEMENT prior to YOU entering that agreement.
                                                                                                                5   REQUEST FOR PRODUCTION NO. 2:
                                                                                                                6           All COMMUNICATIONS between YOU and MAYER regarding YOUR
                                                                                                                7   resignation from MAYER.
                                                                                                                8   REQUEST FOR PRODUCTION NO. 3:
                                                                                                                9           All COMMUNICATIONS between YOU and MAYER regarding FF
                                                                                                               10   following your resignation from MAYER.
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                               11   REQUEST FOR PRODUCTION NO. 4:
                                                                                                               12           All COMMUNICATIONS between YOU and MAYER regarding the
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                               13   EMPLOYMENT AGREEMENT.
                                                                                                               14   REQUEST FOR PRODUCTION NO. 5:
                                                                                                               15           All DOCUMENTS reflecting FF’s INFORMED CONSENT to any conflict
                                                                                                               16   of interest prior to entering into the EMPLOYMENT AGREEMENT.
                                                                                                               17   REQUEST FOR PRODUCTION NO. 6:
                                                                                                               18           All DOCUMENTS reflecting SMART KING’s INFORMED CONSENT to
                                                                                                               19   any conflict of interest prior to entering into the EMPLOYMENT AGREEMENT.
                                                                                                               20   REQUEST FOR PRODUCTION NO. 7:
                                                                                                               21           All DOCUMENTS disclosing or discussing the potential adverse
                                                                                                               22   consequences of the EMPLOYMENT AGREEMENT on FF.
                                                                                                               23   REQUEST FOR PRODUCTION NO. 8:
                                                                                                               24           All DOCUMENTS disclosing or discussing the potential adverse
                                                                                                               25   consequences of the EMPLOYMENT AGREEMENT on SMART KING.
                                                                                                               26   REQUEST FOR PRODUCTION NO. 9:
                                                                                                               27           All COMMUNICATIONS in which YOU advised FF of the desirability of
                                                                                                               28   seeking independent counsel with regard to the EMPLOYMENT AGREEMENT.
                                                                                                                    114229690                               4
                                                                                                                    DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND CHAOYING DENG’S
                                                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE) TO PLAINTIFF HONG LIU

                                                                                                                                                                           Exhibit 3, Page 19
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 24 of 28 Page ID
                                                                                                                                                #:1914


                                                                                                                1   REQUEST FOR PRODUCTION NO. 10:
                                                                                                                2           All COMMUNICATIONS in which YOU advised SMART KING of the
                                                                                                                3   desirability of seeking independent counsel with regard to the EMPLOYMENT
                                                                                                                4   AGREEMENT.
                                                                                                                5   REQUEST FOR PRODUCTION NO. 11:
                                                                                                                6           All COMMUNICATIONS supporting or REFLECTING that YOU gave FF
                                                                                                                7   a reasonable opportunity to seek the advice of independent counsel prior to entering
                                                                                                                8   the EMPLOYMENT AGREEMENT.
                                                                                                                9   REQUEST FOR PRODUCTION NO. 12:
                                                                                                               10           All COMMUNICATIONS supporting or REFLECTING that YOU gave
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                                                                                                               11   SMART KING a reasonable opportunity to seek the advice of independent counsel
                                                                                                               12   prior to entering the EMPLOYMENT AGREEMENT.
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                               13   REQUEST FOR PRODUCTION NO. 13:
                                                                                                               14           All DOCUMENTS REFLECTING FF’s INFORMED CONSENT as to the
                                                                                                               15   essential terms of the EMPLOYMENT AGREEMENT.
                                                                                                               16   REQUEST FOR PRODUCTION NO. 14:
                                                                                                               17           All DOCUMENTS REFLECTING FF’s INFORMED CONSENT to any risk
                                                                                                               18   that FF undertook in the EMPLOYMENT AGREEMENT.
                                                                                                               19   REQUEST FOR PRODUCTION NO. 15:
                                                                                                               20           All DOCUMENTS REFLECTING SMART KING’s INFORMED
                                                                                                               21   CONSENT to any risk that SMART KING undertook in the EMPLOYMENT
                                                                                                               22   AGREEMENT.
                                                                                                               23   REQUEST FOR PRODUCTION NO. 16:
                                                                                                               24           All DOCUMENTS REFLECTING FF’s INFORMED CONSENT to YOUR
                                                                                                               25   role with regard to the EMPLOYMENT AGREEMENT.
                                                                                                               26   REQUEST FOR PRODUCTION NO. 17:
                                                                                                               27           All DOCUMENTS REFLECTING SMART KING’s INFORMED
                                                                                                               28   CONSENT to YOUR role with regard to the EMPLOYMENT AGREEMENT.
                                                                                                                    114229690                                5
                                                                                                                    DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND CHAOYING DENG’S
                                                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE) TO PLAINTIFF HONG LIU

                                                                                                                                                                             Exhibit 3, Page 20
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 25 of 28 Page ID
                                                                                                                                                #:1915


                                                                                                                1   REQUEST FOR PRODUCTION NO. 18:
                                                                                                                2           All DOCUMENTS REFLECTING FF’s INFORMED CONSENT to YOU
                                                                                                                3   representing FF with regard to the EMPLOYMENT AGREEMENT.
                                                                                                                4   REQUEST FOR PRODUCTION NO. 19:
                                                                                                                5           All DOCUMENTS REFLECTING SMART KING’s INFORMED
                                                                                                                6   CONSENT to YOU representing SMART KING with regard to the
                                                                                                                7   EMPLOYMENT AGREEMENT.
                                                                                                                8   REQUEST FOR PRODUCTION NO. 20:
                                                                                                                9           All DOCUMENTS REFLECTING YOUR disclosure to FF of any conflict of
                                                                                                               10   interest with respect to the EMPLOYMENT AGREEMENT.
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                                                                                                               11   REQUEST FOR PRODUCTION NO. 21:
                                                                                                               12           All DOCUMENTS REFLECTING YOUR disclosure to SMART KING of
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




                                                                                                               13   any conflict of interest with respect to the EMPLOYMENT AGREEMENT.
                                                                                                               14   REQUEST FOR PRODUCTION NO. 22:
                                                                                                               15           All DOCUMENTS REFLECTING YOUR disclosure to FF that the options
                                                                                                               16   that YOU obtained under the EMPLOYMENT AGREEMENT could or would
                                                                                                               17   result in YOU having a financial interest in the EMPLOYMENT AGREEMENT.
                                                                                                               18   REQUEST FOR PRODUCTION NO. 23:
                                                                                                               19           All DOCUMENTS REFLECTING YOUR disclosure to SMART KING that
                                                                                                               20   the options that YOU obtained under the EMPLOYMENT AGREEMENT could or
                                                                                                               21   would result in YOU having a financial interest in the EMPLOYMENT
                                                                                                               22   AGREEMENT.
                                                                                                               23   REQUEST FOR PRODUCTION NO. 24:
                                                                                                               24           All DOCUMENTS REFLECTING YOUR registration as FF’s in-house
                                                                                                               25   counsel with the California State Bar.
                                                                                                               26   REQUEST FOR PRODUCTION NO. 25:
                                                                                                               27           All DOCUMENTS REFLECTING YOUR admission to the California State
                                                                                                               28   Bar.
                                                                                                                    114229690                                6
                                                                                                                    DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND CHAOYING DENG’S
                                                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE) TO PLAINTIFF HONG LIU

                                                                                                                                                                           Exhibit 3, Page 21
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 26 of 28 Page ID
                                                                                                                                                #:1916


                                                                                                                1   REQUEST FOR PRODUCTION NO. 26:
                                                                                                                2           All DOCUMENTS that support or refute YOUR claim for intentional
                                                                                                                3   infliction of emotional distress.
                                                                                                                4   REQUEST FOR PRODUCTION NO. 27:
                                                                                                                5           All DOCUMENTS that support or refute YOUR claim for breach of contract.
                                                                                                                6   REQUEST FOR PRODUCTION NO. 28:
                                                                                                                7           All DOCUMENTS that support or refute YOUR claim for violation of
                                                                                                                8   Section 10(b) of The Exchange Act and Rule 10b-5.
                                                                                                                9   REQUEST FOR PRODUCTION NO. 29:
                                                                                                               10           All DOCUMENTS that support or refute YOUR claim for fraudulent
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                                                                                                               11   inducement.
                                                                                                               12   REQUEST FOR PRODUCTION NO. 30:
                                                                               I R V I N E , C A 92614-2545
                                             5 PAR K PLA ZA
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                                                                                                               13           All DOCUMENTS that support or refute YOUR claim for wrongful
                                                                                                               14   termination in violation of public policy.
                                                                                                               15   REQUEST FOR PRODUCTION NO. 31:
                                                                                                               16           All DOCUMENTS that support or refute YOUR claim for negligent
                                                                                                               17   misrepresentation.
                                                                                                               18   REQUEST FOR PRODUCTION NO. 32:
                                                                                                               19           All DOCUMENTS that support or refute YOUR claim for declaratory
                                                                                                               20   judgment.
                                                                                                               21   Dated: March 19, 2021                            TROUTMAN PEPPER HAMILTON
                                                                                                                                                                     SANDERS LLP
                                                                                                               22
                                                                                                               23                                                    By:
                                                                                                                                                                       Lauren E. Grochow
                                                                                                               24                                                      Daniel Anziska
                                                                                                                                                                       Mackenzie L. Willow-Johnson
                                                                                                               25
                                                                                                                                                                       Attorneys for Defendants
                                                                                                               26                                                      SMART KING LTD., JIAWEI
                                                                                                                                                                       WANG, and CHAOYING DENG
                                                                                                               27                                                      and Defendant and Counterclaimant
                                                                                                                                                                       FARADAY&FUTURE INC.
                                                                                                               28
                                                                                                                    114229690                                    7
                                                                                                                    DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND CHAOYING DENG’S
                                                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE) TO PLAINTIFF HONG LIU

                                                                                                                                                                                 Exhibit 3, Page 22
                                                                                                             Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 27 of 28 Page ID
                                                                                                                                               #:1917


                                                                                                                1                                         PROOF OF SERVICE

                                                                                                                2           I, Felisa H. Lybarger, declare:

                                                                                                                3           I am a citizen of the United States and employed in Orange County, CA. I am over the

                                                                                                                4   age of 18 and not a party to the within action; my business address is 5 Park Plaza, Suite 1400,

                                                                                                                5   Irvine, CA 92614-2545; email felisa.lybarger@troutman.com.

                                                                                                                6           On March 19, 2021, I served the following document(s) described as:

                                                                                                                7   DEFENDANTS FARADAY&FUTURE INC., SMART KING LTD., JIAWEI WANG, AND
                                                                                                                    CHAOYING DENG’S REQUEST FOR PRODUCTION OF DOCUMENTS (SET THREE)
                                                                                                                8                        TO PLAINTIFF HONG LIU
                                                                                                                9
                                                                                                                                  BY MAIL: I am readily familiar with the firm’s practice of collection and
                                                                                                                                   processing correspondence for mailing. Under that practice it would be deposited
                                                                                                               10
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                                                                                                                                   with U.S. postal service on that same day with postage thereon fully prepaid at
                                                                                                               11                  Irvine, CA, in the ordinary course of business. I am aware that on motion of the
                                                                                                                                   party served, service is presumed invalid if postage cancellation date or postage
                                                                                                               12                  meter date is more than one day after date of deposit for mailing in affidavit.
                                                                              I R V I N E , C A 92614-2545
                                            5 PAR K PLA ZA
                                                             S U I T E 1400




                                                                                                               13
                                                                                                                                  BY OVERNIGHT MAIL: I am readily familiar with the firm’s practice of
                                                                                                                                   collection and processing correspondence for overnight mailing. Under that
                                                                                                               14                  practice, it would be deposited with overnight mail on that same day prepaid at
                                                                                                               15                  Irvine, CA in the ordinary course of business.

                                                                                                               16                 BY ELECTRONIC SERVICE: Based on a court order or an agreement of the
                                                                                                                                   parties to accept service by e-mail or electronic transmission, I caused the
                                                                                                               17                  documents to be sent to the persons at the e-mail addresses, as last given or
                                                                                                                                   submitted on any document which he or she has filed in the case, listed on the
                                                                                                               18                  attached service list.
                                                                                                               19   On the following parties:
                                                                                                               20           SEE ATTACHED SERVICE LIST
                                                                                                               21           I declare that I am employed in the office of a member of the bar of this court at whose
                                                                                                               22   direction the service was made. Executed on March 19, 2021, at Irvine, CA.
                                                                                                               23

                                                                                                               24

                                                                                                               25                                                                 Felisa H. Lybarger

                                                                                                               26

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                                                                                                             Case 2:20-cv-08035-SVW-JPR Document 115-2 Filed 04/12/21 Page 28 of 28 Page ID
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                                                                                                                1                                         SERVICE LIST

                                                                                                                2   Amiad Kushner                               Attorneys for Plaintiff and Counter-Defendant
                                                                                                                    Jake Nachmani                               HONG LIU
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                                                                                                                6   Kevin D Hughes                              Attorneys for Plaintiff and Counter-Defendant
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                                                                                                                    Los Angeles, CA 90067
                                                                                                                8   Email: kevin@foundationlaw.com

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